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                                                                                                                      _FILED     _ENTERED
                                    IN THE UNITED STATES DISTRICT COURT                                               __    LOGGED
                                                                                                                                 _RECEIVED
                                       FOR THE DISTRICT OF MARYLAND
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     UNITED STATES OF AMERICA                                *                                                                   Af GREENBELT
                                                                                                                           CLERK, U.S. DISTRICT COURT
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                                                                                                                          ~RICT        OF MARYLAND

                                                             *                                                                                          DEPUTY
     v.                                                      *              Case No.: RWT 04cr235
                                                             *
                                                             *
     LAVON DOBIE                                             *
                                                             *

                                                            ORDER

                      On November 20,2012,      the Court held a hearing on Defendant's                  Motion for Retroactive

     Application           of Sentencing    Guidelines    to Crack Cocaine            Offense     under       18 U.S.c.         S 3582

     [ECF No. 1476], Motion to Hold in Abeyance Right to File a Motion under 18 U.S.c.                                          S 2255
     Pending Resentencing           [ECF No. 1515], and Motion for Filing of Depierre Claim to be Held in

     Abeyance [ECF No. 1519].                Upon consideration        of the motions and the arguments of counsel

     presented           at the hearing,    it is, for the reasons           stated   in the record,              this 20th day of

     November, 2012, by the United States District Court for the District of Maryland,

                      ORDERED,     that    Defendant's    Motion       for Retroactive          Application         of Sentencing

     Guidelines to Crack Cocaine Offense under 18 U.S.c.                      S 3582 [ECF No. 1476] is DENIED; and
     it is further

                      ORDERED, that Defendant's Motion to Hold in Abeyance Right to File a Motion under

     18 U.S.c.           S 2255 Pending Resentencing       rECF No. 1515] is DENIED AS MOOT; and is is

     further


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